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             In the United States Court of Federal Claims

                                                   )
 MICHAEL L. FITZGERALD,                            )
 TREASURER OF THE STATE OF IOWA,                   )
                                                   )
                        Plaintiff,                 )              No. 19-678C
                                                   )              (Filed: January 17, 2020)
        v.                                         )
                                                   )
 THE UNITED STATES OF AMERICA,                     )
                                                   )
                        Defendant.                 )
                                                   )
                                                   )


                                              ORDER

       This case was stayed pending decisions by the United States Court of Appeals for the

Federal Circuit in LaTurner v. United States, Case No. 13-1011C, and Lea v. United States, Case

No. 16-43. On August 13, 2019, the Federal Circuit reversed this Court’s grant of summary

judgment to the plaintiffs in LaTurner and Lea, and remanded with instructions to grant

summary judgment in favor of the government. See LaTurner v. United States, 933 F.3d 1354,

1367 (Fed. Cir. 2019). Accordingly, on December 19, 2019, this Court granted summary

judgment for the government in both cases and subsequently lifted the stays in the related cases.

See ECF No. 43, Lea v. United States (Dec. 19, 2019).


       In a joint status report, the parties in this case as well as other related cases notified the

Court that the plaintiff in LaTurner is currently seeking the required approval from the Kansas

Attorney General to timely seek review of the Federal Circuit’s August 13, 2019 decision in the
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Supreme Court. The parties thus anticipate that the issues in LaTurner will remain live and that

the Supreme Court will act on LaTurner’s anticipated petition during its 2021 term.


       Therefore, the Court orders the proceedings in this case are to be STAYED pending

either a decision by the Supreme Court denying the LaTurner petition for certiorari or disposing

of the case on the merits, or until the decision of the Federal Circuit becomes final and

unappealable. The parties shall file a joint status report within 14 days of the date on which the

Supreme Court issues its decision or the Federal Circuit judgment becomes final.


       IT IS SO ORDERED.



                                                     s/ Elaine D. Kaplan
                                                     ELAINE D. KAPLAN
                                                     Judge
